                 Case 8:20-cv-00048-JVS-JDE     Document 2090 Filed 08/28/24     Page 1 of 2 Page ID
                                                     #:182018

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                                    UNITED STATES DISTRICT COURT
             9            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
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                    MASIMO CORPORATION,                        CASE NO. 8:20-cv-00048-JVS (JDEx)
           11       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,               ORDER GRANTING APPLE’S
           12       a Delaware corporation,                    REQUEST TO FILE A THREE-PAGE
                                                               REPLY REGARDING PLAINTIFFS’
           13                          Plaintiffs,             RESPONSIVE BRIEF IN SUPPORT
                                                               OF THEIR “NOTICE OF CONSENT
           14             v.                                   TO NOVEMBER 5, 2024 BENCH
                                                               TRIAL” (DKT. 2076) [2086]
           15       APPLE INC.,
                    a California corporation,
           16
                                       Defendant.              Pre-Trial Conference: Oct. 28, 2024
           17                                                  Trial: Nov. 5, 2024
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Wilmer Cutler
Pickering Hale                                       ORDER RE: APPLE’S REQUEST TO FILE A THREE-PAGE REPLY
and Dorr LLP
                                                                          CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE    Document 2090 Filed 08/28/24         Page 2 of 2 Page ID
                                                    #:182019

             1            This matter is before the Court pursuant to Apple’s Request To File A Three-
             2      Page Reply Regarding Plaintiffs’ Responsive Brief In Support Of Their “Notice Of
             3      Consent To November 5, 2024 Bench Trial” (Dkt. 2076). Having considered the
             4      briefing, supporting documents, and all other matters properly before the Court, being
             5      fully advised on the pleadings, and for good cause appearing:
             6            IT IS HEREBY ORDERED THAT Apple’s Request is GRANTED. Defendant
             7      shall file its proposed reply at Dkt. 2086 as a standalone document forthwith.
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             9            IT IS SO ORDERED.
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           11       Dated: August 28, 2024                              ______________________
           12                                                           The Hon. James J. Selna
                                                                        U.S. District Judge
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Wilmer Cutler
                                                      ORDER RE: APPLE’S REQUEST TO FILE A THREE-PAGE REPLY
Pickering Hale                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
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